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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND



   MAURICE HARDY,
       Petitioner,
                                                         Civil Action No.: ELH-14-3622
       v.                                                Criminal No.: ELH-11-358

   UNITED STATES OF AMERICA,
       Respondent.

                                          MEMORANDUM

       This Memorandum resolves a motion filed by Maurice Hardy pursuant to 28 U.S.C.

§ 2255 (ECF 440), which is supported by a memorandum.              ECF 440-1 (collectively, the

“Petition”). Hardy is self-represented.

       In 2013, pursuant to a plea agreement (the “Plea Agreement”), Hardy entered a plea of

guilty to conspiracy to distribute and possession with intent to distribute one kilogram of heroin,

five kilograms or more of cocaine, and a quantity of cocaine base, in violation of 21 U.S.C.

§ 846. See ECF 306; ECF 309; see also ECF 447-3. The Plea Agreement (ECF 309; ECF 447-

3) reflects that Hardy’s plea was entered pursuant to Fed. R. Crim. P. 11(c)(1)(C) (id. ¶ 5), in

which the parties agreed to a sentence of 16 years’ imprisonment (192 months). Id. ¶ 10.

Consistent with the “C plea,” Hardy was sentenced on May 14, 2013, to a term of imprisonment

of 192 months. ECF 334; ECF 335; ECF 349.

       Hardy filed his Petition in November 2014. In particular, Hardy argues that he received

ineffective assistance of counsel from the two attorneys who represented him at various times.

ECF 440; ECF 440-1. The government filed a response in opposition (ECF 447, “Opposition”),
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accompanied by six exhibits. ECF 447-1 through ECF 447-6.1 Hardy did not reply, and the time

to do so has expired. See Local Rule 105.2.2

       Under 28 U.S.C. § 2255(b), a hearing is required “[u]nless the motion and the files and

records of the case conclusively show that the prisoner is entitled to no relief . . . .” This is such

a case; no hearing is necessary. For the reasons that follow, I shall deny the Petition.

                             I. Factual and Procedural Background

       In a Superseding Indictment filed on September 14, 2011 (ECF 44),3 Hardy and eight

others were charged, inter alia, with conspiracy to distribute and possession with intent to

distribute one kilogram or more of heroin, five kilograms or more of cocaine, and a quantity of

cocaine base, in violation of 21 U.S.C. § 841(a)(1). Id. On September 20, 2011, Hardy and his

retained lawyer, David Henninger, engaged in a “reverse proffer” session with the government,

at which the government summarized its evidence against Hardy. ECF 447 at 2. According to

the government, that evidence included intercepted telephone calls and text messages from two


       1
         By Order of February 25, 2015 (ECF 448), I granted the government’s “Motion to
Seal” (ECF 446) its Opposition (ECF 447) and accompanying exhibits (ECF 447-1 through ECF
447-6).
       2
          On August 8, 2016, the Clerk docketed a “Motion to Strike Indictment; Vacate
Indictment, Conviction and Dismiss for Fraud on Court” (the “Motion to Strike”). ECF 492. It
includes exhibits and largely reiterates Hardy’s allegations that he received ineffective assistance
of counsel. Id. at 3, 4, 5. The government has not responded, and I do not address this
submission here.
        Hardy also filed a motion to reduce sentence, pursuant to 18 U.S.C. § 3582(c)(2). ECF
470. The government opposed that motion (ECF 474) and Hardy replied. ECF 485. By Order
of July 12, 2016, I denied the motion to reduce sentence. ECF 486. My reasons are set forth in
ECF 488. Hardy has filed an appeal from my ruling (ECF 489), which is pending in the Fourth
Circuit.
        In my view, the pendency of the appeal as to the motion to reduce sentence does not
deprive this Court of jurisdiction with respect to the Petition. This is because the Petition is
instituted and docketed as a separate civil case, even though matters pertaining to it are docketed
in the original criminal case.
       3
           The original Indictment (ECF 1) was filed a few months earlier, on June 29, 2011.
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of Hardy’s telephones as well as 1.027 kilograms of cocaine seized from Hardy’s vehicle

following a traffic stop on June 29, 2011. Id. In addition, a loaded firearm was recovered from

Hardy’s residence. See ECF 309 at 12.4 The government also disclosed information that Hardy

was responsible for the shooting of an associate. ECF 447 at 3.

        Eventually, plea negotiations “broke down.” Id. On August 20, 2012, Henninger filed a

“Motion to Strike Appearance.” ECF 230. He said, in relevant part, id.: “Per the request of the

defendant, please strike the appearance of David P. Henninger, Esquire, as counsel in the above

caption[ed] case. The defendant [h]as notified this office his has [sic] already sought alternative

counsel to represent him in the above caption case.” Thereafter, by Order of August 20, 2016

(ECF 232), I referred the “Motion to Strike Appearance” (ECF 230) to a magistrate judge to

conduct an attorney inquiry hearing. See ECF 231.

        An attorney inquiry hearing was held on August 21, 2012. See ECF 250 at 1. By Order

of August 21, 2016 (ECF 233), then Magistrate Judge Paul Grimm granted the “Motion to Strike

Appearance” (ECF 230), contingent upon the entry of a new attorney for Hardy. However,

Hardy did not retain new counsel. Therefore, in a letter to counsel of November 30, 2012 (ECF

257), I indicated that a second attorney inquiry hearing was warranted. And, on December 5,

2012, Henninger filed a second “Motion to Strike Appearance.” ECF 259. It stated, in relevant

part, id. at 1:

              Per the request of the Defendant, please strike the appearance of David P.
        Henninger, Esquire, as counsel in the above caption[ed] case and for reason says:

        1. The Defendant has been represented by this office for more than a year. This
        office engaged in very fruitful negotiations, early on in this case. The defendant
        was unhappy with the representation when he learned of a possible homicide
        charge.

        4
            Additional information is set forth in ECF 447, but it need not be detailed here.

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       2. That the Defendant has refused to cooperate with counsel over the last six (6)
       months, and all efforts to cooperate on counsel's part have been futile.

       3. The Defendant is receiving legal advice from the Inner City Legal Services,
       out of Baltimore City, who are not lawyers and do not understand the Defendant's
       case nor the law. At his time said organization is under investigation by the
       Baltimore City State's Attorney's Office for practicing without a license.

       4. Any further efforts to represent the Defendant are not likely to be productive,
       and his right to a trial counsel of his choice has been seriously jeopardized.

       5. This office has referred the Defendant to Donna Shearer for appointment for
       counsel, and has yet to return the petition for counsel to Ms. Shearer.[5]

       By Order of December 5, 2012 (ECF 261), the case was referred to Magistrate Judge

Gesner for a second attorney inquiry hearing. By Order of December 13, 2012 (ECF 264), Judge

Gesner granted the second “Motion to Strike Appearance.” ECF 259. Soon after, Thomas

Saunders, a panel attorney under the Criminal Justice Act (“CJA”), was appointed to represent

Hardy. See ECF 265; ECF 271.

       Over the next three months, Saunders negotiated the Plea Agreement with the

government on behalf of Hardy. ECF 447 at 4; see ECF 309; ECF 447-3. Pursuant to that Plea

Agreement (ECF 309), Hardy tendered a plea of guilty on March 19, 2013, to Count 1 of the

Superseding Indictment, under Fed. R. Crim. P. 11(c)(1)(C). Id. The Plea Agreement included

as “Attachment A” a lengthy factual stipulation. Id. at 9-12. The factual stipulation set forth,

inter alia, Hardy’s narcotics transactions with his co-defendants; that law enforcement officers

recovered a loaded 9mm Glock pistol and 9mm ammunition from Hardy’s residence; and that

Hardy and his co-conspirators distributed more than 15 kilograms of cocaine, more than a

kilogram of heroin, and a quantity of cocaine base, and this conduct was foreseeable to Hardy.



       5
          At the time, Ms. Shearer handled the appointment of Criminal Justice Act Panel
attorneys for this Court.

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Id. at 9-12. In addition, the stipulation provided that during June 2011, Hardy discussed on the

telephone the shooting at a vehicle in Salisbury, Maryland. Id. at 12.

       Paragraph 3 of the Plea Agreement set forth the maximum possible penalties for the

offense in issue. The offense to which Hardy pleaded guilty carried a mandatory minimum term

of imprisonment of ten years and a maximum term of life imprisonment. Id.

       In the Plea Agreement, Hardy and the government stipulated that “a sentence of

imprisonment of 16 years is the appropriate disposition of this case.” Id. ¶ 10 (bold in original).

The parties also stipulated to the calculation of Hardy’s offense level under the United States

Sentencing Guidelines (“U.S.S.G.”). Under U.S.S.G. § 2D1.1(c)(3), they agreed that Hardy’s

base offense level was 34, based on the quantity of narcotics. Id. ¶ 7. Two levels were added

under U.S.S.G. § 2D1.1(b)(1), because of Hardy’s possession of a dangerous weapon in

connection with the conspiracy.     Id. And, Hardy earned three deductions for acceptance of

responsibility. Id. See U.S.S.G. §§ 3E1.1(a), (b). Thus, Hardy had an anticipated final offense

level of 33. However, there was no agreement as to Hardy’s criminal history. See ECF 309, ¶ 9;

ECF 447-3, ¶ 9.

       At the rearraignment, the government made an oral presentation of the stipulated facts, in

which it recounted, inter alia, defendant’s involvement in the shooting at a vehicle. See ECF

397 (guilty plea transcript) at 33-34. Hardy, who was under oath (id. at 3), was asked if he had

any dispute with the factual summary. Id. at 34. He indicated that he did not dispute the factual

summary and acknowledged that it was accurate. Id.

       The Presentence Report (ECF 324) reflected that Hardy had a criminal history category

of V. See id. ¶ 48. With a final offense level of 33 and a criminal history category of V, Hardy

had an advisory sentencing guidelines range of 210 to 262 months’ incarceration.



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       Notably, the shooting referenced in the stipulation of facts contained in the Plea

Agreement, and recounted at the rearraignment, was not included in the agreed-upon calculation

of Hardy’s adjusted offense level under the sentencing guidelines. Had the shooting been

incorporated, the government could have pursued an additional two-level enhancement under

U.S.S.G. § 2D1.1(b)(2), on the ground that Hardy used or directed the use of violence. If this

enhancement applied, Hardy’s final adjusted offense level would have been 35, not 33. And, this

would have resulted in an applicable guidelines sentencing range of 262-327 months’

imprisonment, assuming a Criminal History Category of V, as found at sentencing.

       Thus, the C plea of 16 years (i.e., 192 months) was 18 months below the bottom of the

advisory guidelines range and 70 months below that top of the range. And, it was well below the

advisory sentencing range of 262 to 327 months’ imprisonment, which would have applied if the

shooting incident had been included in the calculation of the offense level.

       After sentencing, Hardy noted an appeal to the Fourth Circuit. See ECF 357; ECF 358;

ECF 362; ECF 363. The Fourth Circuit dismissed Hardy’s appeal as to his sentence, based on a

valid appellate waiver. See United States v. Hardy, 555 Fed. App’x 272 (4th Cir. 2014) (per

curiam) (ECF 413). But, the Court determined that the waiver did not extend to the issue of the

voluntariness of his guilty plea. Id. at 273. Nevertheless, it concluded that “[t]he district court

fully complied with Rule 11 when accepting Hardy’s plea and ensured that the plea was knowing

and voluntary and, therefore, final and binding.” Id. Of relevance here, the Court declined to

address on direct appeal Hardy’s appellate claim of ineffective assistance of trial counsel. Id.




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                                          II. Discussion

                                       A. The Legal Standard

       Section 2255(a) of Title 28 of the United States Code, under which Hardy filed his

Petition, provides relief to prisoners in federal custody only on specific grounds: that the

sentence was imposed in violation of the Constitution or laws of the United States; that the court

was without jurisdiction to impose such a sentence; that the sentence was in excess of the

maximum authorized by law; or that the sentence is otherwise subject to collateral attack. In

reviewing the Petition, the Court is mindful that a self-represented litigant is generally “held to a

‘less stringent standard[ ]’ than is a lawyer, and the Court must liberally construe his claims, no

matter how ‘inartfully’ pled.” Morrison v. United States, Crim. No. RDB-10-0507; 2014 WL

979201, at *2 (D. Md. Mar. 12, 2014) (internal citations omitted); see also Erickson v. Pardus,

551 U.S. 89, 94 (2007); Haines v. Kerner, 404 U.S. 519, 520 (1972) (stating that claims of self-

represented litigants are held “to less stringent standards than formal pleadings drafted by

lawyers”); Bala v. Commonwealth of Virginia Dep't of Conservation & Recreation, 532 Fed.

App’x. 332, 334 (4th Cir. 2013) (same).

       Hardy contends that his Sixth Amendment rights were violated because he received

“[i]neffective assistance of counsel in violation of federal constitution’s 6TH. amendment under

STRICKLAND V. WASHINGTON, 104 S.Ct 2052 . . . .” ECF 440-1 at 5; see ECF 440 at 5-6.

The Sixth Amendment’s right to effective assistance of counsel is a well recognized basis for

relief under § 2255. See generally Missouri v. Frye, ___ U.S. ___, 132 S.Ct. 1399 (2012); Lafler

v. Cooper, ___ U.S. ___, 132 S.Ct. 1376 (2012); Padilla v. Kentucky, 559 U.S. 356 (2010). To

challenge successfully a sentence of imprisonment under 28 U.S.C. § 2255 based on a Sixth

Amendment claim of ineffective assistance of counsel, a petitioner must satisfy the two-prong



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test set forth in Strickland v. Washington, 466 U.S. 668, 687–88 (1984). See Chaidez v. United

States, ___ U.S. ___, 133 S.Ct. 1103, 1107–8 (2013); Roe v. Flores-Ortega, 528 U.S. 470, 477

(2000); Lafler, 132 S.Ct. at 1384; Hill v. Lockhart, 474 U.S. 52 (1985); United States v. Rangel,

781 F.3d 736, 742 (4th Cir. 2015); Richardson v. Branker, 668 F.3d 128, 139 (4th Cir. 2012);

United States v. Higgs, 663 F.3d 726, 735 (4th Cir. 2011); see, e.g., United States v. Baker, 719

F.3d 313, 318 (4th Cir. 2013).

       First, the petitioner must show that his attorney’s performance fell “below an objective

standard of reasonableness,” measured by “prevailing professional norms.” Strickland, 466 U.S.

at 688. This is known as the “performance prong,” which relates to professional competence.

The burden is on the petitioner to establish “‘that counsel made errors so serious that “counsel”

was not functioning as the ‘counsel’ guaranteed by the Sixth Amendment.’” Harrington v.

Richter, 562 U.S. 86, 88 (2011) (quoting Strickland, 466 U.S. at 687).

       The performance prong is “‘difficult’” to establish. Lawrence v. Branker, 517 F.3d 700,

709 (4th Cir. 2008) (quoting James v. Harrison, 389 F.3d 450, 457 (4th Cir. 2004)). “Keenly

aware of the difficulties inherent in evaluating counsel’s performance, the Supreme Court has

admonished that courts ‘must indulge a strong presumption that counsel’s conduct falls within

the wide range of reasonable professional assistance.’” Lawrence, 517 F.3d at 708 (quoting

Strickland, 446 U.S. at 689); see Harrington, 562 U.S. at 104; Lee v. Clarke, 781 F.3d 114, 122

(4th Cir. 2015).   Indeed, “the Strickland standard must be applied with scrupulous care,”

Harrington, 562 U.S. at 105, and “the standard of judging counsel’s representation is a most

deferential one.” Id. The central question is whether “an attorney’s representation amounted to

incompetence under ‘prevailing professional norms,’ not whether it deviated from best practices

or most common custom.” Harrington, 562 U.S. at 88 (quoting Strickland, 466 U.S. at 690).



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       Second, the petitioner must show that his attorney’s deficient performance “prejudiced

[his] defense.” Strickland, 466 U.S. at 687. To satisfy the “prejudice prong,” a petitioner must

show that “there is a reasonable probability that, but for counsel’s unprofessional errors, the

result of the proceeding would have been different.” Id. at 694. “A reasonable probability is a

probability sufficient to undermine confidence in the outcome” of the proceedings. Id.6

       What the Padilla Court said, 559 U.S. at 371, is apt: “Surmounting Strickland’s high bar

is never an easy task.” Accordingly, a petitioner is not entitled to post-conviction relief based on

prejudice where the record establishes that it is “not reasonably likely that [the alleged error]

would have made any difference in light of all the other evidence of guilt.”           Berghuis v.

Thompkins, 560 U.S. 370, 390 (2010).

       A court “need not determine whether counsel's performance was deficient before

examining the prejudice suffered by the defendant as a result of the alleged deficiencies.” Id. at

697. Nor must a court address both components if one is dispositive. Jones v. Clarke, 783 F.3d

987, 991 (4th Cir. 2015). Failure to satisfy either prong is fatal to a petitioner’s claim. As a

result, “there is no reason for a court . . . to address both components of the inquiry if the

defendant makes an insufficient showing on one.” Strickland, 466 U.S. at 697.

       In the case at bar, Hardy entered into the Plea Agreement with the government, by which

he pleaded guilty to one count of a multi-count indictment. In Hooper v. Garraghty, 845 F.2d

471 (4th Cir. 1988), the Fourth Circuit described a defendant’s burden in the context of a post-

guilty plea claim of ineffective assistance of counsel. The Court said, id. at 475 (quoting Hill v.

       6
          The Sixth Amendment guarantee to effective assistance of counsel also applies to an
appeal. See, e.g., Halbert v. Michigan, 545 U.S. 605 (2005); Evitts v. Lucey, 469 U.S. 387
(1985). The proper standard for evaluating a claim of ineffective assistance of appellate counsel
is that enunciated in Strickland. See Smith v. Murray, 477 U.S. 527, 535-36 (1986) (applying
Strickland to claim of attorney error on appeal).

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Lockhart, 474 U.S. at 59): “When a defendant challenges a conviction entered after a guilty plea,

[the] ‘prejudice’ prong of the [Strickland] test is slightly modified. Such a defendant ‘must show

that there is a reasonable probability that, but for counsel’s errors, he would not have pleaded

guilty and would have insisted on going to trial.’” Accord Fields v. Attorney Gen. of Md., 956

F.2d 1290, 1294-99 (4th Cir. 1992). Moreover, when, as here, a defendant claims ineffective

assistance of counsel after pleading guilty, the defendant is “bound,” absent clear and convincing

evidence to the contrary, “by the representations he made under oath during a plea colloquy.”

Fields, 956 F.2d at 1299; see Blackledge v. Allison, 431 U.S. 63, 74-75 (1977).

        In Hill, 474 U.S. 52, the Supreme Court explained that “where . . . a defendant is

represented by counsel during the plea process and enters his plea upon the advice of counsel,

the voluntariness [and intelligence] of the plea depends on whether counsel’s advice ‘was within

the range of competence demanded of attorneys in criminal cases.’” Id. at 56 (citing McMann v.

Richardson, 397 U.S. 759, 771 (1970)).        In assessing whether counsel’s performance was

deficient, courts adopt a “strong presumption” that counsel’s actions fell within the “wide range

of reasonable professional assistance.” Strickland, 466 U.S. at 689.

        In Hooper, 845 F.2d 471, the defendant had a history of mental illness. He entered a plea

of guilty to second-degree murder.      Id. at 472.    However, his lawyers failed to obtain a

psychiatric evaluation before the defendant’s entry of the guilty plea. Id. The Fourth Circuit

noted that the “burden is on Hooper to establish a reasonable probability that if his lawyers had

obtained a psychiatric report, he would have rejected the plea agreement” and gone to trial. Id. at

475.

        The Fourth Circuit examined a psychiatric report obtained after the guilty plea against the

background of the circumstances Hooper faced at the time he decided to plead guilty. It was not



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persuaded that the report provided evidence sufficient to establish a reasonable probability that

Hooper would have declined the plea agreement and gone to trial, even if his counsel had

obtained a psychiatric report at the time. Id. at 475-76. Although the Court concluded that the

failure to obtain a psychiatric report fell below the objective standard of reasonableness

established by Strickland, it was satisfied that Hooper was not prejudiced because there was no

reasonable probability that the deficiency changed the outcome of the proceeding. Id.

       With this background, I turn to Hardy’s claims.

                       B. Hardy’s Ineffective Assistance of Counsel Claims

                                     1. Claim as to Henninger

       Hardy alleges that his first attorney, David Henninger, created a “conflict issue” because

Henninger was “secretly deal[ing] with the government” (ECF 440-1 at 2) and “went behind the

Movant’s back exposed some of the defenses case [sic] and also told the A.U.S.A., that he would

get the Movant on board with their agenda, which was to cooperate with them.” Id. at 3.

       To demonstrate that a conflict of interest resulted in ineffective assistance of counsel, a

petitioner must satisfy the two-part test articulated in United States v. Nicholson, 475 F.3d 241,

249 (4th Cir. 2007). To “establish that a conflict of interest resulted in ineffective assistance,

‘[m]ore than a mere possibility of a conflict . . . must be shown.’ The petitioner must show (1)

that his lawyer was under ‘an actual conflict of interest’ and (2) that this conflict ‘adversely

affected his lawyer's performance.’” Id. at 249 (citations omitted and alterations in original); see

Cuyler v. Sullivan, 446 U.S. 335, 350 (1980).

       The allegations do not support the finding that Henninger’s conduct created an actual

conflict of interest or otherwise met the conditions set forth in the first prong of Strickland. The

notion that Henniger “went behind [Hardy’s] back” is refuted by the fact that Hardy attended the



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reverse proffer session, at which the government disclosed its evidence. Moreover, as the

government points out, ECF 447 at 10, “Hardy fails to specify whose interest, other than his

own, Henninger represented in discussing a potential [plea] deal with the government.”

        Conflicts of interest are not created merely because a defense attorney interacts with the

prosecutor.   Defense counsel, in the course of properly representing a criminal defendant,

generally must communicate with the prosecutor to achieve the best results for a client.7 The

government correctly observes, ECF 447 at 10:

        Hardy appears to be arguing that a lawyer has (or creates) an actual conflict
        simply by listening to (and discussing) an offer by the government that would
        potentially benefit his client by reducing his client’s exposure at sentencing. This
        is not the law; if it were, defense attorneys would be hamstrung in terms of their
        ability to identify and explore favorable opportunities for their clients. Indeed, the
        law seems to indicate that, where such an opportunity is presented, a lawyer is
        obligated to define and discuss its parameters so that his client can fairly consider
        it. Cf. Missouri v. Frye, 132 S.Ct. 1399, 1408 (2012) (“[A]s a general rule,
        defense counsel has the duty to communicate formal offers from the prosecution
        to accept a plea on terms and conditions that may be favorable to the accused.”).

        Moreover, “Hardy does not allege . . . that Henninger was required to ‘account to two

masters,’ or that he failed to take action on behalf of one client because it would adversely affect

another” by discussing a potential plea deal with the government. ECF 447 at 10 (citing United

States v. Tatum, 943 F.2d 370, 375 (4th Cir. 1991)). Beyond Hardy’s conclusory allegation of

collusion, he does not make any argument identifying that Henninger labored under a conflict of

interest.

        Even assuming that an actual conflict existed, there is no evidence that it adversely

affected Henninger’s performance. To establish an adverse effect, Hardy must satisfy a three-part

standard, by a preponderance of the evidence:

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         This is so widely understood that the American Bar Association’s Model Rules of
Professional Conduct, assuming that such discussions will happen, requires counsel to “promptly
inform” a client of every proffered plea bargain. ABA Model Rule 1.4, comment 2.
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          1)     Hardy must “‘identify a plausible alternative defense strategy or tactic that his

                 defense counsel might have pursued.’”

          2)     He “must establish that ‘the alternative strategy or tactic was objectively

                 reasonable under the facts of the case known to the attorney at the time of the

                 attorney’s tactical decision.’” To satisfy this requirement, Hardy “must show

                 ‘that the alternative strategy or tactic was “clearly suggested” by the

                 circumstances.’”

          3)     Hardy must demonstrate that “‘the defense counsel’s failure to pursue that

                 strategy or tactic was linked to the actual conflict.’”

Nicholson, 475 F.3d at 251-52 (quoting Mickens v. Taylor, 240 F.3d 348, 361 (4th Cir. 2001) (en

banc)).

          In any event, Hardy was not prejudiced. He obtained new counsel before he entered a

guilty plea. His new lawyer negotiated a C plea to a sentence well below the bottom of the

advisory sentencing guidelines range, and that range did not include an enhancement that readily

could have been applied.

          In sum, the facts do not support a finding that Henninger’s performance in representing

Hardy fell below an objective standard of reasonableness.             Nor do the facts demonstrate

prejudice. Therefore, Hardy’s Sixth Amendment right to the effective assistance of counsel was

not violated by Henninger’s representation.

                                        2. Claim as to Saunders

          Hardy’s claims with respect to his second attorney, Thomas Saunders, also lack merit.

Hardy asserts, ECF 440-1 at 5:

          The second counsel became ineffective when he did not investigate any element
          of my case because had he done so, he would have known that the plea put

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       forward by the government was in excess by at least 3 or 4yrs, and further why
       did Movant’s counsel fail to advise the Movant he could have pled guilty openly
       and keep all his rights. Counsel never advised the Movant about any other type of
       pleas, never even talked about that issue.

       Hardy seems to present three categories of allegations of ineffective assistance of counsel

as to Saunders.

       First, Hardy complains that Saunders failed to inform him of other options concerning

pleading guilty. In particular, Hardy claims that Saunders failed to advise him that he could have

proceeded with an open plea, by which he would have retained all of his appellate rights. ECF

440-1 at 5.8 Second, Hardy contends that Saunders “never really advised . . . that he was

entering into a stipulated plea under Rule 11(C)(1)(C) [sic].” ECF 440-1 at 2. And third, Hardy

complains that Saunders failed to investigate his case adequately, resulting in a plea agreement

that included a term of incarceration three to four years longer than it should have been. See

ECF 440-1 at 2, 5, 8.

       In considering Hardy’s first claim of ineffective assistance, the Supreme Court’s decision

in Missouri v. Frye, 132 S.Ct. 1399 (2012), provides some guidance.           In Frye, the Court

articulated a three-part test “[t]o show prejudice where a plea offer has lapsed or been rejected

because of counsel's deficient performance . . . .” Id. at 1409. A petitioner must show “a

reasonable probability [he] would have accepted the earlier plea offer had [he] been afforded

effective assistance of counsel”; “a reasonable probability that the plea would have been entered

without the prosecution canceling it or the trial court refusing to accept it;” and, “a reasonable

probability that the end result of the criminal process would have been more favorable by reason

of a plea to a lesser charge or a sentence of less prison time.” Id.

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         In his Motion to Strike, Hardy asserts: “On March 19, 2013, Defendant exercised a
written Rule 11 Plea Agreement based solely on the advice of a corrupted, compromised,
cooperating with government, abandoned defense counsel.” ECF 492 at 4.
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         Notably, Hardy does not allege that he would have entered an open guilty plea had he

known that the option was available. And, it is likely that such a plea would not have yielded a

final offense level of 33, for reasons set forth earlier. As the government points out, in the

absence of the Plea Agreement, it could have sought an additional two-level enhancement “on

account of the fact that Hardy was caught on a wiretap informing a co-conspirator that he had

paid a third party to carry out a shooting.” ECF 447 at 15. Indeed, that conduct was part of the

stipulated facts. Had the Court accepted that enhancement, the advisory sentencing guidelines

range would have increased to 262 to 326 months of imprisonment, without a commitment by

the government as to a specific, known recommendation of a sentence below the guidelines

range.

         I agree with the government that “Hardy cannot credibly argue that he would have chosen

an open guilty plea instead of a 192-month c plea. Hardy has failed, therefore, to demonstrate

prejudice under Frye.” ECF 447 at 15.

         Hardy also claims that he was “never really advised . . . that he was entering into a

stipulated plea under Rule 11(C)(1)(C) [sic].”           ECF 440-1 at 2.     This claim is directly

contradicted by Hardy’s own sworn statements during his rearraignment. Under oath and on the

record, Hardy responded “Yes” when asked by the Court, regarding the signed plea agreement,

as follows:

         And right above your signature, sir, it says in part, “I have read this agreement
         and carefully reviewed every part of it with my attorney. I understand it and I
         voluntarily agree to it. Specifically, I have reviewed the factual advisory guideline
         stipulation with my attorney and I do not wish to change any part of it. I am
         completely satisfied with the representation of my attorney.” Is that a true and
         accurate statement?




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See ECF 397 at 7. Hardy also answered “Yes” when asked: “And have you actually read this

plea agreement?” and “[H]ave you discussed it with your lawyer?” Id. at 8. Hardy has not

alleged that these statements were either inaccurate, involuntary, or coerced.

       The transcript of the rearraignment also reflects that Hardy had reviewed every part of his

Plea Agreement and discussed the case fully with Saunders. Id. at 6-7. He told the Court that he

had discussed the Plea Agreement with Saunders; that Saunders had answered all of his

questions; and that he had no complaints regarding Saunders’s representation of him. Id. Hardy

has presented no evidence that these representations were either untruthful or involuntary, “and

he is therefore rightly bound by his sworn statements.” Fields, 956 F.2d at 1299.

       Hardy also contends that Saunders failed to investigate the case adequately and thus the

agreed-upon sentence was too long. Yet, Hardy fails to identify any facts supporting the veracity

of this assertion. I agree with the government that the sentence of 16 years “was actually quite

generous under the circumstances . . . given the quantity of cocaine and heroin that Hardy

conspired to distribute; given the fact that officers found a loaded gun in his home; given the fact

that he admitted paying a third party to carry out a shooting . . . .” ECF 447 at 16.

       In sum, none of the three arguments that Hardy advances with reference to the

performance of his second attorney successfully demonstrates that Saunders’s performance was

constitutionally inadequate or that Hardy was prejudiced as a result.

                                          III. Conclusion

       For the foregoing reasons, I shall deny Hardy’s “Motion under § 2255 to Vacate, Set

Aside, or Correct Sentence by a Person in Federal Custody” (ECF 440). A Certificate of

Appealability shall not issue. A separate Order follows, consistent with this Memorandum.




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Date: September 16, 2016                  /s/
                                   Ellen Lipton Hollander
                                   United States District Judge




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